










TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN




NO. 03-06-00590-CR





Alexander Johnson, Appellant

v.

The State of Texas, Appellee




FROM THE DISTRICT COURT OF TRAVIS COUNTY, 299TH JUDICIAL DISTRICT
NO. D-1-DC-05-302111, HONORABLE CHARLES F. BAIRD, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N
&nbsp;
A jury found appellant Alexander Johnson guilty of aggravated assault and family
violence assault, for which the district court assessed prison terms of twenty and ten years,
respectively.  See Tex. Penal Code Ann. §§  22.01(a)(1), (b)(2), 22.02(a)(2) (West Supp. 2006).  In
his only point of error, appellant contends that he was denied his constitutional right to a speedy trial. 
We will overrule this contention and affirm the convictions.
In determining whether a defendant has been denied a speedy trial, a court must
balance four factors:  length of the delay, reason for the delay, assertion of the right, and prejudice
to the accused.  Barker v. Wingo, 407 U.S. 514, 530 (1972); Johnson v. State, 954 S.W.2d 770, 771
(Tex. Crim. App. 1997).  The application of these factors is a legal question subject to de novo
review.  Johnson, 954 S.W.2d at 771.
Appellant was arrested on September 28, 2005, and his trial began on August
14,&nbsp;2006.  A delay approaching one year is generally long enough to trigger a full speedy trial
analysis.  Dragoo v. State, 96 S.W.3d 308, 314 (Tex. Crim. App. 2003).
On March 22, 2006, appellant filed a motion for speedy trial.  On several occasions
thereafter, both parties announced ready, but the cause was not tried because of the trial court’s
crowded docket.  Thus, the record shows that appellant asserted his right to a speedy trial, a factor
that weighs in his favor.  Zamorano v. State, 84 S.W.3d 643, 651 (Tex. Crim. App. 2002).  The
reason for the delay was an overcrowded court docket, a factor that weighs against the State,
but&nbsp;not&nbsp;heavily.  Id. at 649.
The critical factor in this case is prejudice, and specifically appellant’s contention that
the delay resulted in the loss of a witness critical to his defense.  To claim prejudice as a result of a
missing witness, the defendant must show that the witness was unavailable at the time of his trial,
the witness’s testimony was relevant and material to his defense, and he exercised due diligence in
attempting to locate the witness.  McCarty v. State, 498 S.W.2d 212, 218 (Tex. Crim. App. 1973);
Clarke v. State, 928 S.W.2d 709, 716 (Tex. App.—Fort Worth 1996, pet. ref’d).
The alleged missing witness was Tiffany Harris.  At the hearing on his motion to
dismiss, appellant testified that Harris, a close friend, could testify to the complaining witness’s bad
character and to the true manner in which the complainant’s injuries had been inflicted.  Appellant
said that Harris had been available to testify at the earlier trial settings but had since moved without
telling him or leaving a forwarding address.  However, during cross-examination, appellant said that
the last time he spoke to Harris was in November 2005, which was before the first trial setting and
appellant’s announcement of ready.  When appellant was asked if he ever told his attorney about this
important witness, he answered, “At times.”  Appellant conceded that he never gave his attorney
Harris’s address or telephone number; he said that he never knew Harris’s address and that he gave
her telephone number to his mother.  Appellant also conceded that no subpoena was issued for
Harris’s appearance at any prior trial setting; he said that no subpoena was needed.  Appellant did
not describe any efforts he had made to locate Harris since her move.  We conclude that appellant’s
testimony does not show that he exercised due diligence to locate the witness or otherwise secure
her testimony at his trial.
Harris’s importance as a witness is also open to question.  The complainant testified
that there were two witnesses to the assault:  a man named DJ and his girlfriend, Keisha.  There is
no explanation in the record as to why appellant could not call them as witnesses to contradict the
complainant’s testimony.  Appellant’s mother did offer contradictory testimony.  She testified that
on the day of the alleged assault, the complainant told her that her injuries had been inflicted during
a fight she had with other dancers at the club in which she worked.
In summary, the evidence shows that despite appellant’s request for a speedy trial and
both parties’ readiness for trial, appellant’s trial was delayed several times due to an overcrowded
court docket.  Nevertheless, appellant was tried less than one year following his arrest.  Most
importantly, appellant’s claim of prejudice arising from the delay was undermined by his failure to
show due diligence in seeking to locate the alleged missing witness, whose testimony does not
appear to have been crucial to his defense.  On balance, we conclude that appellant’s constitutional
right to a speedy trial was not violated.
The point of error is overruled, and the judgment of conviction is affirmed.
&nbsp;
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;__________________________________________
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;David Puryear, Justice
&nbsp;
Before Chief Justice Law, Justices Puryear and Henson
Affirmed
Filed:   August 15, 2007
Do Not Publish


